0 oN A HW BWW

Bb NO NY YN NY NHN NY WN NN KH KR HR HB KF SF FF EF kK
Oo ND DW WH BR WO NYO K|& ODO OHO TO AN Dn FP WD NY FF OC

Case 4:21-cr-02714-CKJ-MSA Document 8

GLENN B. McCORMICK
Acting United States Attorney
District of Arizona

ERICA L. SEGER

Assistant United States Attorney
Arizona State Bar No. 022681
405 W. Congress, Suite 4800
Tucson, Arizona 85701-5040
Telephone: (520) 620-7300
Email: erica.seger@usdoj.gov
Attorneys for Plaintiff

 

Filed 10/20/21 Page 1 of 2

cH

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,

Plaintiff,
vs.
Devonte Okeith Mathis,
Defendant.

 

 

 

THE GRAND JURY CHARGES:

COUNT 1

 

CR21-02714 TUC-CKJ(MSA)

INDICTMENT

VIO: 21 U.S.C. § 846

(Conspiracy to Possess with Intent to
Distribute Marijuana) .
Count 1

21 U.S.C. 5 841(a)(1) and
841(b)(1)(D

(Possession with Intent to Distribute
Marijuana)

Count 2

Beginning at a time unknown to on or about October 4, 2021, in the District of

Arizona and elsewhere, Defendant DEVONTE OKEITH MATHIS did knowingly and

intentionally combine, conspire, confederate and agree with persons known and unknown

to the grand jury, to possess with intent to distribute less than 50 kilograms of marijuana,

a Schedule I controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(D).

All in violation of Title 21, United States Code, Section 846.

 

 
Co eG YN NH Wn FF W YN

NY NO NBO NO NWN NO KR KF KF FF Fe FP KF EF RS
A BR WO NO K§ OD BO DB AN HD NH FP WD NY YK OS

No NY
ao ms

N
aN

 

Case 4:21-cr-02714-CKJ-MSA Document 8 Filed 10/20/21 Page 2 of 2

COUNT 2
On or about October 4, 2021, in the District of Arizona, Defendant DEVONTE
OKEITH MATHIS did knowingly and intentionally possess with intent to distribute less
than 50 kilograms of marijuana, a Schedule J controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(D).

A TRUE BILL
/s/

FOREPERSON OF THE GRAND JURY
Date: October 20, 2021

 

GLENN B. McCORMICK

Acting United States Attorney REDACTED FOR
District of Arizona PUBLIC DISCLOSURE
/s/

 

ERICA L. SEGER
Assistant U.S. Attorney

 
